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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

RIGOBERTO SANCHEZ,                       CRIMINAL ACTION
                                         1:07-CR-412-CAP-GGB-10
            Movant,                         CIVIL ACTION
      v.                                    NO. 1:10-CV-2938-CAP
UNITED STATES OF AMERICA,
            Respondent.

                                O R D E R

     This     action   is   before    the    court    on     the   Report   and

Recommendation (“R&R”) of the magistrate judge [Doc. No. 942] and

the movant’s objections thereto [Doc. No.            953].   The court agrees

with the report and recommendation of the magistrate judge, and it

is received with approval and ADOPTED as the opinion and order of

this court.

     SO ORDERED, this 30th day of January, 2012.



                                     /s/ Charles A. Pannell, Jr.
                                     CHARLES A. PANNELL, JR.
                                     United States District Judge
